 

Caae 5:79-or-O4[]12~DEO Doournent 1 Filed 10116/*|979 F’age 1 of 2

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WESTERN DIVISION

-.--._.-_-.4»., _________________ -n-q- _______ a_--qp ------ null ----------------------

murrah s'ra'ras or ME'.RICA, )
Plaintiff. ) No ' rp F*' ¢" 2-
v. )
KEHNETH JAY s'riLL. ) L:_cg;_§;i_apu_g
Dcfendant. ) (1B USC 3150 and 402)

The Grand Jury chargcs:
CDUNT l

Dn cr about Scptember 2h, 1979, at SicuxCity. Wcodbury
Gounty, in the`Weatern Diviaion cf the Northern Diatritt of lowe.
KENNETH JAY STILL, in violation of Section 3150, Titla lB, Unitad
Statea Coda, having theretofore been admitted to bond on June 1, 19?9,
pursuant tc Chaptcr 207, Titlo 18, Unitad Statee Codc, in connection
with charges of a felony, to wit: a false statement in an application
for a pasapcrt, in violation of Section 1542, Title lB, United Statee
Ccdc, did willfully fail to appear for Trial before the Unitcd Stctaa
District Court for the Northctn District of lowa, aa required by his
appearance bond hearing date of June l, 1979, and filed with this Court
on June 25, 1979.

COUNT 2

on or about Scptemher 24, 1979, ct alone City, Woodbury
Gounty, in the Woatcrn Diviaicn of the Ncrthern Distriut of IOWB.
KENNETH JAY STILL. in violation of Sootion 402, Title 18. United
Statea Code, did willfully disobey a lawful order of the United Stataa
Diatriot Court for the Northern District of Iowa, to-wit: an Otdar
to appear for Trial in the cause of Unitcd Statea of Amcrita v.
Kanueth lex Etill, Criminal No. CR 79-300?. by failing to appear in
compliance with`aaid Drder, which act won of such character aa to

alan constitute a criminal offense under a statute of the United Etatea.

 

 

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D.
to-wit: the offense of Bcnd .Jumping,‘ in violation of Section 315

Tltle 18, United Statea Code.

A Trnn 3111

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Asaaa E. soaaoanaa
Asaiatant United Statea Attorney
Northcrn Diatrict cf Iowa

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